

People v Fauntleroy (2019 NY Slip Op 08576)





People v Fauntleroy


2019 NY Slip Op 08576


Decided on November 27, 2019


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 27, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

REINALDO E. RIVERA, J.P.
MARK C. DILLON
LEONARD B. AUSTIN
LINDA CHRISTOPHER, JJ.


1996-10107
 (Ind. No. 9504/95)

[*1]The People of the State of New York, respondent,
vKareem Fauntleroy, appellant.

	

Eric Gonzalez, District Attorney, Brooklyn, NY (Leonard Joblove, Rhea A. Grob, and Julian Joiris of counsel), for respondent.
Kareem Fauntleroy, Attica, NY, appellant pro se.



DECISION &amp; ORDER
Application by the appellant for a writ of error coram nobis to vacate, on the ground of ineffective assistance of appellate counsel, a decision and order of this Court dated February 22, 1999 (People v Fauntleroy, 258 AD2d 664), affirming a judgment of the Supreme Court, Kings County, rendered October 15, 1996.
ORDERED that the application is denied.
The appellant has failed to establish that he was denied the effective assistance of appellate counsel (see Jones v Barnes, 463 US 745; People v Stultz, 2 NY3d 277).
RIVERA, J.P., DILLON, AUSTIN and CHRISTOPHER, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








